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 1    PHILLIP A. TALBERT
      United States Attorney
 2    KAREN A. ESCOBAR
      GRANT B. RABENN
 3    JEFFREY A. SPIVAK
      Assistant United States Attorneys
 4    2500 Tulare Street, Suite 4401
      Fresno, California 93721
 5    Telephone: (559) 497-4000
      Facsimile: (559) 497-4099
 6
      Attorneys for the
 7     United States of America

 8                                        UNITED STATES DISTRICT COURT

 9                               FOR THE EASTERN DISTRICT OF CALIFORNIA

10

11    UNITED STATES OF AMERICA,                          No. 1:15-CR-00286-DAD-BAM

12                           Plaintiff,                  PRELIMINARY ORDER OF FORFEITURE

13             v.

14    RAMSEY JERIES FARRAJ,

15                           Defendant.

16

17             Based upon the plea agreement entered into between the United States of America and

18    defendant Ramsey Jeries Farraj, it is hereby

19             ORDERED, ADJUDGED and DECREED as follows:

20             1.       Pursuant to 31 U.S.C. § 5317(c)(1), defendant Ramsey Jeries Farraj’s interest in

21    the following property shall be condemned and forfeited to the United States of America, to be

22    disposed of according to law:

23                  a. Real property located at 12348 Lene Place, Bakersfield, Kern County, California,
                       APN: 387-150-05-00-9;
24
                    b. Real Property located at 12208 Vista Montana Drive, Bakersfield, Kern County,
25                     California, APN: 387-310-06-00-8;

26                  c. Real Property located at 4872 West 140th Street, Hawthorne, Los Angeles
                       County, California, APN: 4147-021-020;
27
                    d. Approximately $50,015.94 seized from Wells Fargo Bank account #1890335381,
28                     held in the names of Majed Akroush and Firyal Akroush;
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 1                  e. The domain name and website hosted at www.bluewhalestore.com;

 2                  f. The domain name and website hosted at www.worldofincense.com;

 3                  g. Approximately $199,181.00 in U.S. Currency;

 4                  h. Approximately $33,460.00 in U.S. Currency seized from Citibank safe deposit
                       box #1023-5, held in the names of Majed Akroush and Firyal Akroush;
 5
                    i. Approximately $200,000.00 in U.S. Currency seized from Citibank safe deposit
 6                     box #3511-7, held in the names of Majed Akroush and Firyal Akroush;

 7                  j. Approximately $50,015.94 seized from Wells Fargo Bank account #1890335381,
                       held in the names of Majed Akroush and Firyal Akroush;
 8
                    k. Approximately $39,000.00 seized from Wells Fargo Bank account #9374809227,
 9                     held in the name of A/Z Inc. dba A to Z Auto Sales;

10                  l. Approximately $19,800.00 seized from Wells Fargo Bank account #1404375519,
                       held in the names of Mathew Akroush and Firyal Akroush;
11
                    m. Approximately $19,800.00 seized from Wells Fargo Bank account #1404375493,
12                     held in the name of Michelle Akroush;

13                  n. Approximately $19,800.00 seized from Wells Fargo Bank account #1404375501,
                       held in the name of Michael Akroush;
14
                    o. One Rolex Oyster Perpetual Cosmograph Watch; and,
15
                    p. 1962 Chevrolet Impala, VIN: 21867B189452.
16

17             2.       The above-listed assets constitute property which were involved in a violation of

18    18 U.S.C. § 371 or are traceable to such violation.

19             3.       Pursuant to Rule 32.2(b), the Attorney General (or a designee) shall be

20    authorized to seize the above-listed property. The aforementioned property shall be seized and

21    held by the U.S. Marshals Service and the Internal Revenue Service – Criminal Investigations in

22    its secure custody and control.

23             4.       a. Pursuant to 31 U.S.C. § 5317(c)(1)(B), incorporating 21 U.S.C. § 853(n), and

24    Local Rule 171, the United States shall publish notice of the order of forfeiture. Notice of this

25    Order and notice of the Attorney General’s (or a designee’s) intent to dispose of the property in

26    such manner as the Attorney General may direct shall be posted for at least 30 consecutive days

27    on the official internet government forfeiture site www.forfeiture.gov. The United States may

28    also, to the extent practicable, provide direct written notice to any person known to have alleged
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 1    an interest in the property that is the subject of the order of forfeiture as a substitute for

 2    published notice as to those persons so notified.

 3                      b. This notice shall state that any person, other than the defendant, asserting a

 4    legal interest in the above-listed property, must file a petition with the Court within sixty (60)

 5    days from the first day of publication of the Notice of Forfeiture posted on the official

 6    government forfeiture site, or within thirty (30) days from receipt of direct written notice,

 7    whichever is earlier.

 8             5.        If a petition is timely filed, upon adjudication of all third-party interests, if any,

 9    this Court will enter a Final Order of Forfeiture pursuant to 31 U.S.C. § 5317, in which all

10    interests will be addressed.

11             6.       The government, in its discretion, shall conduct discovery, including written

12    discovery, the taking of depositions, and the issuance of subpoenas, in order to identify, locate

13    or dispose of property subject to forfeiture in accordance with Rule 32.2(b)(3) of the Federal

14    Rules of Criminal Procedure.

15    IT IS SO ORDERED.
16
          Dated:       May 23, 2017
17                                                              UNITED STATES DISTRICT JUDGE

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